Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 1 of 34




                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        JASON WOLFORD; ALISON                      No. 23-16164
        WOLFORD; ATOM KASPRZYCKI;
        HAWAII FIREARMS COALITION,                    D.C. No.
                                                   1:23-cv-00265-
                      Plaintiffs-Appellees,          LEK-WRP

          v.
                                                      ORDER
        ANNE E. LOPEZ, in her official
        capacity as the Attorney General of the
        State of Hawaii,

                      Defendant-Appellant.

                          Filed January 15, 2025

        Before: Mary M. Schroeder, Susan P. Graber, and Jennifer
                         Sung, Circuit Judges.

                                  Order;
                        Dissent by Judge Collins;
                        Dissent by Judge VanDyke
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 2 of 34
        2                        WOLFORD V. LOPEZ


                                  SUMMARY*


                              Second Amendment

           The panel denied appellees’ petition for panel rehearing
        and petition for rehearing en banc in a case in which the
        panel affirmed in part and reversed in large part district court
        orders preliminarily enjoining the implementation or
        enforcement of several provisions of a Hawaii law that
        prohibits the carry of firearms at sensitive places.
            Dissenting from the denial of rehearing en banc, Judge
        Collins, joined by Judge Bress, stated that for many of the
        same reasons set forth by Judge VanDyke, he agreed that the
        panel failed to apply the proper standards for evaluating
        Second Amendment challenges, and that, in doing so, the
        panel largely vitiated “the right to bear commonly used arms
        in public” that the Supreme Court recognized in New York
        State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022).
            Dissenting from the denial of rehearing en banc, Judge
        VanDyke, joined by Judges Callahan, Ikuta, R. Nelson, Lee
        and Bumatay, wrote that the panel’s opinion is contrary to
        Supreme Court precedent and results in a circuit split with
        the Second Circuit. Attempts to declare almost all cities and
        public locations as either prohibited “sensitive places” or
        presumptive gun-free zones cannot be squared with Bruen.




        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 3 of 34
                              WOLFORD V. LOPEZ                      3


                                  ORDER

            The panel has voted to deny Appellees’ petition for panel
        rehearing. Judge Sung has voted to deny Appellees’ petition
        for rehearing en banc, and Judges Schroeder and Graber
        have so recommended.
            The full court was advised of Appellees’ petition for
        rehearing en banc. A judge requested a vote on whether to
        rehear the matter en banc. The matter failed to receive a
        majority of the votes of the nonrecused active judges in favor
        of en banc consideration. Fed. R. App. P. 35. Judges
        Bennett, H.A. Thomas, and Johnstone did not participate in
        the deliberations or vote in this case.
            Appellees’ petition for panel rehearing and petition for
        rehearing en banc, Docket No. 105, is DENIED.


        COLLINS, Circuit Judge, joined by BRESS, Circuit Judge,
        dissenting from the denial of rehearing en banc:

            For many of the same reasons set forth by Judge
        VanDyke, I agree that the panel in these cases failed to apply
        the proper standards for evaluating Second Amendment
        challenges, as set forth in New York State Rifle & Pistol
        Ass’n v. Bruen, 597 U.S. 1 (2022), and United States v.
        Rahimi, 602 U.S. 680 (2024), and that, in doing so, the panel
        largely vitiated the “the right to bear commonly used arms
        in public” that the Supreme Court recognized in Bruen. See
        Bruen, 597 U.S. at 70. We therefore should have reheard
        these important cases en banc.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 4 of 34
        4                     WOLFORD V. LOPEZ


        VANDYKE, Circuit Judge, joined by CALLAHAN,
        IKUTA, R. NELSON, LEE, and BUMATAY, Circuit Judges,
        dissenting from the denial of rehearing en banc:

            Just a few years ago in New York State Rifle & Pistol
        Ass’n, Inc. v. Bruen, 597 U.S. 1, 10 (2022), the Supreme
        Court made clear that the Second Amendment includes the
        right to bear firearms in public. With its decision in these
        cases our court allows governments in our circuit to
        practically eliminate most of that right. In response to
        Bruen, both Hawaii and California declared a broad and
        unprecedented number of locations to be prohibited
        “sensitive places,” and on top of that imposed novel criminal
        sanctions for concealed carry onto private property absent
        express permission received in advance. With this court’s
        blessing, law-abiding and licensed citizens in this circuit can
        now be banned from carrying firearms in most public and
        private spaces.      Apparently, notwithstanding Bruen’s
        instruction that the Second Amendment protects a right to
        carry a firearm in public, what it really protects is the right
        to carry only while taking your dog out for a walk on a city
        sidewalk. If only New York City had been as creative as
        California and Hawaii, it too could have avoided Bruen and
        succeeded in banning firearms throughout most of
        Manhattan.
             I don’t think that’s right. Hawaii’s and California’s
        creative attempts to declare almost all cities and public
        locations as either prohibited “sensitive places” or
        presumptive gun-free zones cannot be squared with Bruen.
        There, the Supreme Court concluded that designating entire
        cities “sensitive places” and prohibiting the carrying of
        firearms in those locations would effectively “exempt cities
        from the Second Amendment” and “eviscerate the general
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 5 of 34
                               WOLFORD V. LOPEZ                       5


        right to publicly carry arms for self-defense.” Id. at 31. Yet
        California’s and Hawaii’s bans practically accomplish close
        to the same thing rejected in Bruen.
            In upholding most of these new laws, the panel distorted
        Bruen’s text-history-and-tradition analysis. It failed to
        identify any Founding-era tradition justifying laws that flip
        the presumption like California and Hawaii have attempted.
        Instead, it justified its conclusion by pointing to just two
        outlier laws—one an anti-poaching colonial law and the
        other a discriminatory Reconstruction era Black Code.
        Some of the sensitive place restrictions allowed by the panel
        ban carry in locations that have existed since the Founding,
        with no comparable prohibition in those locations at that
        time. The panel upheld those and other provisions of
        Hawaii’s and California’s bans by extracting overbroad
        principles from strained analogies to unrelated laws and by
        looking to late-19th and early-20th-century laws enacted
        long after the proper historical time period.
            Among other things, our court’s decision in these cases
        results in a split with the Second Circuit, which ruled that the
        application of New York’s similar private-property law was
        unconstitutional. We should have taken these cases en banc
        to rectify this, and I respectfully dissent from our failure to
        do so.
                                       I.
            First, some background. In Bruen, the Supreme Court
        recognized the Second Amendment protects the “right to
        carry a handgun for self-defense outside the home.” Id. at
        10. The Court thus held that New York’s proper-cause
        requirement for its licensing and permitting regime was
        unconstitutional, id. at 71, and threw constitutional doubt on
        California’s    and       Hawaii’s    similarly     aggressive
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 6 of 34
        6                     WOLFORD V. LOPEZ


        licensed-carry bans. See id. at 57 (rejecting our en banc
        court’s holding in Young v. Hawaii, 992 F.3d 765, 813 (9th
        Cir. 2021) (en banc), that “the government may regulate, and
        even prohibit, in public places” the carrying of firearms).
        California appropriately responded by “remov[ing] the good
        character and good cause requirements from the issuance
        criteria” for its concealed carry permits. 2023 Cal. Legis.
        Serv. Ch. 249. But that’s not all California did. It also
        enacted new laws that prohibit the concealed carrying of
        firearms in many new locations—what Bruen referred to as
        “sensitive places” prohibitions. Hawaii did the same. It
        amended its carry permit statute—which before Bruen
        restricted the right to obtain a carry permit outside the home
        to only “an exceptional case,” 2023 Haw. Sess. Laws 113
        (Act 52)—to now make it possible for the ordinary, law-
        abiding citizen to obtain a carry permit, again as required by
        Bruen, HRS § 134-9. But like California, Hawaii took away
        with its other hand what it purported to grant, imposing its
        own broad new restrictions on where such permit holders
        may carry. See HRS §§ 134-9.1, 134-9.5.
            California’s new law makes it a criminal offense to carry
        in 26 different places—even with a permit—including
        locations where liquor is sold for consumption on the
        premises (whether the permit-holder is drinking or not),
        parks and athletic facilities, and casinos. Cal. Pen. Code
        § 26230(a)(9), (12), (15). And Hawaii’s law makes it a
        criminal offense to carry a firearm onto 15 different types of
        property—again, even with a permit—including
        government buildings, bars and restaurants serving alcohol,
        and parks and beaches. HRS § 134-9.1(a)(1), (4), (9).
            Perhaps most far-reaching, both states also flipped the
        default rule for carrying on private property. Under
        traditional property law principles, a person with a carry
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 7 of 34
                               WOLFORD V. LOPEZ                       7


        permit is allowed to bring firearms onto private property
        unless the owner prohibits it. See, e.g., Christian v. Nigrelli,
        642 F. Supp. 3d 393, 407 (W.D.N.Y. 2022) (observing that
        at the Founding “private property owners” were principally
        responsible for “exclud[ing] others from their property”); I.
        Ayres & S. Jonnalagadda, Guests with Guns: Public Support
        for “No Carry” Defaults on Private Land, 48 J.L. Med. &
        Ethics 183, 184 (2020). Hawaii’s and California’s statutes
        invert that longstanding principle. By statute, both states
        now prohibit carrying firearms onto private property unless
        the proprietor affirmatively gives advance permission. See
        Cal. Pen. Code § 26230(a)(26); HRS § 134-9.5. California’s
        law allows for permission to be granted only if “the operator
        of the establishment clearly and conspicuously posts a sign”
        stating that carry is allowed, Cal. Pen. Code § 26230(a)(26),
        while Hawaii’s law allows permission to be granted through
        any “[u]nambiguous written or verbal authorization” or by
        the “posting of clear and conspicuous signage.” HRS
        § 134-9.5(b).
            Both laws dramatically restrict the practical ability to
        carry in public in their states. For example, Hawaii’s law
        prohibits, presumptively or outright, the carrying of a
        handgun on 96.4% of the publicly accessible land in Maui
        County. And California’s law “turns nearly every public
        place in California into a ‘sensitive place,’” May v. Bonta,
        709 F. Supp. 3d 940, 947 (C.D. Cal. 2023), effectively
        limiting carrying—in one plaintiff’s apt characterization—
        “to just streets, sidewalks, and the few standalone private
        business willing to post signs affirmatively allowing carry.”
            Plaintiffs challenged the laws in both California and
        Hawaii. In California, the Carralero and May plaintiffs
        sought preliminary injunctions. They requested that the
        district court enjoin enforcement of the statute with respect
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 8 of 34
        8                      WOLFORD V. LOPEZ


        to only some of the “sensitive places” created by California’s
        law. They did not challenge, for example, the statute’s
        application to locations such as schools, certain government
        buildings, or places of higher education. See Wolford, 116
        F.4th at 973, 975–76.
            The district court granted in full the plaintiffs’ requested
        injunctive relief, enjoining enforcement of the law with
        respect to California’s ban in hospitals, playgrounds, public
        transit facilities, parks and athletic facilities, property
        controlled by the Parks and Recreation Department, bars and
        restaurants that serve alcohol, gatherings that require a
        permit, libraries, casinos, zoos, stadiums and arenas,
        amusement parks, museums, places of worship, banks, and
        all parking lots adjacent to sensitive places. May, 709 F.
        Supp. 3d at 947.         The district court also enjoined
        enforcement of California’s new default rule flipping the
        presumption for private property held open to the public. Id.
        at 967.
            In Hawaii, the Wolford plaintiffs also sought injunctive
        relief. Wolford v. Lopez, 686 F. Supp. 3d 1034, 1042 (D.
        Haw. 2023). As with the California plaintiffs, the Hawaii
        plaintiffs “did not challenge the prohibitions in all areas
        under the Act. Instead, they challenged only a limited subset
        that impose particularly egregious restrictions on their
        Second Amendment right to bear arms.” Id. (cleaned up).
            The district court granted in part and denied in part a
        temporary restraining order, which was then converted into
        a preliminary injunction. Id. at 1077. Specifically, the
        district court enjoined enforcement of Hawaii’s prohibition
        on carrying firearms in parking lots shared by government
        buildings and nongovernment buildings, banks, financial
        institutions and their adjacent parking areas, public beaches,
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 9 of 34
                               WOLFORD V. LOPEZ                       9


        public parks and their adjacent parking areas, bars, and
        restaurants that serve alcohol and their adjacent parking
        areas. Id. The district court also enjoined enforcement of
        the new default rule for private property, but limited the
        injunction to private property held open to the public. Id.
            Both Hawaii and California appealed.             The two
        California cases were consolidated, and a panel of this court
        issued a single opinion for all three cases. Wolford, 116
        F.4th at 976. With respect to the California law, the panel
        upheld the district court’s injunction as to medical facilities,
        public transportation facilities, public gatherings, places of
        worship, financial institutions, parking areas connected to
        those places, and the new private property default rule. Id.
        at 1003. The panel otherwise reversed the injunction,
        allowing California’s restrictions to go into effect with
        respect to bars and restaurants that serve alcohol,
        playgrounds, youth centers, parks, athletic areas, athletic
        facilities, most real property under the control of the
        Department of Parks and Recreation or Department of Fish
        and Wildlife, casinos and similar gambling establishments,
        stadiums, arenas, public libraries, amusement parks, zoos
        and museums, parking areas and similar areas connected to
        those places, and all parking areas connected to other
        sensitive places listed in the statute. Id. at 1003.
            With respect to Hawaii’s law, the panel upheld the
        preliminary injunction as applied to financial institutions and
        certain parking lots. Id. at 1002. The panel otherwise
        reversed the injunction, allowing Hawaii’s restrictions to go
        into effect with respect to bars and restaurants that serve
        alcohol, beaches, parks, and similar areas, parking areas
        adjacent to all those places, and Hawaii’s new private
        property default rule. Id. at 1002–03.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 10 of 34
         10                    WOLFORD V. LOPEZ


             Given the procedural posture of these cases—appeals
         from grants of preliminary injunctions—the panel applied
         the Winter factors, which require that a movant show: (1) a
         likelihood of success on the merits, (2) the presence of
         irreparable harm in the absence of preliminary relief, (3) the
         balance of the equities tips in the movant’s favor, and (4) the
         public interest tips in favor of an injunction. Winter v. Nat.
         Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). But the panel
         and both district courts appropriately focused their analyses
         on the first factor, which “is a threshold inquiry and is the
         most important factor.” Env’t Prot. Info. Ctr. v. Carlson,
         968 F.3d 985, 989 (9th Cir. 2020); see also Disney Enters.,
         Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017)
         (noting that a “court need not consider the other factors” if a
         movant fails to show a likelihood of success on the merits).
             The Wolford, Carralero, and May plaintiffs each sought
         en banc review, which a majority of our court has now
         declined to grant. In refusing to correct the panel’s opinion,
         our court left in place a decision directly contrary to Supreme
         Court precedent and locked in an unnecessary circuit split of
         our own creation.
                                       II.
             A good starting place to analyze how the panel in these
         cases went wrong is with the Supreme Court’s discussion of
         sensitive places laws, and to compare that discussion with
         what our court has allowed California and Hawaii to do in
         these cases. In Bruen the Court explained that “relatively
         few” public locations can be properly classified as “sensitive
         places” “where arms carrying c[an] be prohibited consistent
         with the Second Amendment.” 597 U.S. at 30. The few
         locations Bruen identified include schools, government
         buildings, “legislative assemblies, polling places, and
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 11 of 34
                                WOLFORD V. LOPEZ                      11


         courthouses.” Id. Apart from these locations, “the historical
         record yields relatively few 18th- and 19th-century
         ‘sensitive places’ where weapons were altogether
         prohibited.” Id. The Court rejected New York’s attempted
         characterization of its proper-cause licensing requirement as
         an appropriate “sensitive places” law, after the government
         attempted to label as sensitive places public places “where
         people typically congregate and where law-enforcement and
         other public-safety professionals are presumptively
         available.” Id. at 30–31. The Court reasoned that while
         people often congregate in sensitive places and law
         enforcement professionals are presumptively available in
         those locations, applying the tradition associated with
         sensitive places to all locations that fit those two
         characteristics expanded it “far too broadly.” Id. at 31. Such
         a reading would “in effect exempt cities from the Second
         Amendment and would eviscerate the general right to
         publicly carry arms for self-defense.” Id. The Court
         ultimately concluded that “there is no historical basis for
         New York to effectively declare the island of Manhattan a
         ‘sensitive place’ simply because it is crowded and protected
         generally by the New York City Police Department.” Id.
             Hawaii’s response to Bruen—which practically renders
         nearly all the publicly accessible areas of the entire island of
         Maui a “sensitive place”—seeks to accomplish by other
         means most of what the Supreme Court rejected in Bruen.
         As noted, Hawaii’s law completely or presumptively
         restricts the licensed carrying of a handgun in 96.4% of the
         publicly accessible land in Maui County. While New York
         sought to ban most public carry of firearms by sharply
         curtailing who may carry, Hawaii accomplishes the same
         feat by banning most places where someone may carry.
         Hawaii’s law is the same sort of “broad prohibit[ory]”
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 12 of 34
         12                    WOLFORD V. LOPEZ


         regime that the Court already rejected, as it still makes most
         public places off limits notwithstanding the “general right to
         public carry.” Id. at 33, 50.
            The panel’s opinion addressed the obvious tension
         between its conclusions in this case and those reached by the
         Supreme Court in Bruen in a mere footnote:

                because Plaintiffs may take their firearms
                onto the public streets and sidewalks
                throughout Maui County (and elsewhere in
                Hawaii), as well as into many commercial
                establishments and other locations, the
                situation in this case is unlike the argument
                that Bruen rejected, which would have
                meant, effectively, that firearms could be
                banned from the entire island of Manhattan.

         Wolford, 116 F.4th at 984 n.4 (citing Bruen, 597 U.S. at 31).
         The panel’s assertion that licensed individuals may still carry
         in “many commercial establishments” is belied by the
         record, which, as the panel acknowledged, evinces what
         common sense suggests: that “many property owners will
         not post signs of any sort or give specialized permission,
         regardless of the default rule.” Id. at 993. Indeed, the panel
         recognized that there would be little reason for Hawaii to
         have flipped the presumption unless it reasonably
         anticipated that many—indeed, most—private property
         owners will simply let the default rule govern. See id. (“if
         that group were small or did not exist, Hawaii’s law would
         accomplish little or nothing”). So what we’re left with is a
         law mostly limiting the Second Amendment’s right to
         publicly carry to just the “public streets and sidewalks,” id.
         at 984 n.4, which obviously dramatically curtails an
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 13 of 34
                                    WOLFORD V. LOPEZ                              13


         individual’s practical ability to be prepared in public to
         defend themselves—“the central component of the [Second
         Amendment] right.” District of Columbia v. Heller, 554
         U.S. 570, 599 (2008). Realistically, only those who
         aimlessly wander streets and sidewalks without ever
         planning to enter a store, park, or other private or public
         establishment will be able to carry a firearm in Hawaii. Is
         that really what the Supreme Court meant when it
         recognized a historically grounded “general right to public
         carry” in Bruen?1
             The panel’s self-proclaimed “arbitrary” and “[il]logical”
         outcome—allowing Hawaii to presumptively prohibit all
         firearms on all private property—called for en banc review.
         Wolford, 116 F.4th at 1003. It effectively nullified the
         Second Amendment rights of millions of Hawaiians and
         Californians to bear firearms as they go about their daily


         1
            It is no solace that the panel found fault with California’s private
         property default law while blessing Hawaii’s. Wolford, 116 F.4th at
         995–96. The panel concluded that California’s law, which allows
         someone to avoid its new private property carry ban only if they receive
         permission in written form, was too restrictive for the Second
         Amendment. By contrast, Hawaii’s law, which requires the same
         advance permission but allows it to be granted in multiple ways
         (including orally), passed the panel’s Second Amendment scrutiny. But
         the novelty of the two states’ attempts to flip the presumption has little
         to do with nuances of how someone might go about restoring permission
         to bear a firearm on their property. The overwhelming impact of
         California’s and Hawaii’s innovation is the reversal in the presumption
         itself. The panel’s distinction between the two states’ presumption-
         flipping rules may give the illusion of analytical precision, but it strains
         the proverbial gnat while swallowing the camel. And practically, it just
         means California and other governments that desire to flip the
         presumption will now follow the approach sanctioned by the panel:
         Hawaii’s, not California’s.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 14 of 34
         14                     WOLFORD V. LOPEZ


         lives in public. Except, of course, for those who aimlessly
         wander the streets.
                                       III.
             The panel’s decision is not just generally in tension with
         the Supreme Court’s recent holding in Bruen, however. The
         nuts-and-bolts of the panel’s analysis is also inconsistent
         with how the Court has instructed lower courts to conduct
         our text-history-and-tradition analysis. The panel discerned
         a historical tradition supporting Hawaii’s novel private
         property law, even though there is no such tradition. The
         panel added to the Supreme Court’s guidance on when lower
         courts should turn to analogies to draw constitutional
         principles from the historical record. It drew principles from
         unrelated laws regulating some aspect of firearm use, even
         when the historical record reveals no examples of
         comparable locational restrictions at the same types of places
         that existed at the Founding. And the panel broadly
         redefined what it means to be a historically unprecedented
         location permitting very loose analogizing. Finally, the
         panel continued our court’s troubling trend of drawing
         analogies at such a high level of generality that any
         challenged ban could pass constitutional muster.
                                       A.
             Hawaii’s private property default law cannot survive
         Bruen’s two-step framework. Under that framework, if the
         Second Amendment’s plain text covers regulated conduct,
         the regulation will stand only if the government can
         “affirmatively prove that its firearms regulation is part of the
         historical tradition that delimits the outer bounds of the right
         to keep and bear arms” in the United States. Bruen, 597 U.S.
         at 19, 24. While the government need not identify a “dead
         ringer” to show a historical tradition supporting its modern
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 15 of 34
                               WOLFORD V. LOPEZ                     15


         regulation, it must locate a “well-established and
         representative historical analogue.” Id. at 30. Not any loose
         analogue will suffice: the historical regulation must have
         been “relevantly similar” to the challenged regulation in
         “how and why” it “burden[ed] a law-abiding citizen’s right
         to armed self-defense.” Id. at 29. As the Supreme Court has
         cautioned, upholding a modern regulation that only
         “remotely resembles a historical analogue” would entail
         “endorsing outliers that our ancestors would never have
         accepted” and thus be inconsistent with the historical inquiry
         required by Bruen. Id. at 30 (quoting Drummond v.
         Robinson Twp., 9 F.4th 217, 226 (3d Cir. 2021)). Only when
         applied in this manner is “analogical reasoning under the
         Second Amendment” done correctly, as “neither a regulatory
         straightjacket nor a regulatory blank check.” Id.
             Bruen’s first step asks whether “the Second
         Amendment’s plain text covers an individual’s
         conduct.” Id. at 24. The Supreme Court has already told us
         that the text of the Second Amendment protects the right to
         bear arms outside of the home. Id. at 33. And that right
         makes no distinction between public property or private
         property held open to the public, as lower courts have
         consistently recognized. Antonyuk v. James, 120 F.4th 941,
         1044–45 (2d Cir. 2024); Christian v. James, No. 22-CV-695
         (JLS), 2024 WL 4458385, at *11 (W.D.N.Y. Oct. 10, 2024);
         Kipke v. Moore, 695 F. Supp. 3d 638, 658 n.9 (D. Md. 2023);
         Koons v. Platkin, 673 F. Supp. 3d 515, 607–15 (D.N.J.
         2023). So Bruen’s first step is easily met by Hawaii’s law,
         and the law is presumptively unconstitutional. Bruen, 597
         U.S. at 19.
             Hawaii’s use of a new statutory presumption—rather
         than an outright prohibition—does not change the analysis.
         “[A] constitutional prohibition cannot be transgressed
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 16 of 34
         16                     WOLFORD V. LOPEZ


         indirectly by the creation of a statutory presumption any
         more than it can be violated by direct enactment. The power
         to create presumptions is not a means of escape from
         constitutional restrictions.” Speiser v. Randall, 357 U.S.
         513, 526 (1958) (quoting Bailey v. Alabama, 219 U.S. 219,
         239 (1911)). The Second Amendment’s text protects against
         a presumptive ban on carrying firearms on publicly
         accessible private property no less than it protects from
         attempts to directly ban the same conduct.
             To be sure, the Second Amendment does not restrict
         private-property owners’ ability to decide whether to
         exclude firearms, or certain people for that matter, from their
         property. See Cedar Point Nursery v. Hassid, 594 U.S. 139,
         150 (2021). “[T]he right to exclude is ‘universally held to
         be a fundamental element of the property right,’ and is ‘one
         of the most essential sticks in the bundle of rights that are
         commonly characterized as property.’” Id. (quoting Kaiser
         Aetna v. United States, 444 U.S. 164, 176, 179–80 (1979)).
         But that is the property owner’s right, not the government’s.
         Nothing about a property owner’s authority to exclude
         would extend to the government a correlative power to make
         new presumptions that control the exclusion of firearms
         from private property without any decision by the property
         owner.
              So we reach Bruen’s second step. To overcome the
         presumption of unconstitutionality, Hawaii must show that
         its law “is consistent with the Nation’s historical tradition of
         firearm regulation.” Bruen, 597 U.S. at 24. The panel
         concluded that Hawaii’s private property default rule is
         consistent with one abstract principle derived from the
         historical tradition: “the Nation has an established tradition
         of arranging the default rules that apply specifically to the
         carrying of firearms onto private property.” Wolford, 116
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 17 of 34
                                WOLFORD V. LOPEZ                      17


         F.4th at 995. Setting aside the staggering generality of the
         principle the panel extracted (more on that in a minute), the
         historical record the panel relied on simply does not support
         it even in the capacious form articulated by the panel.
             The panel pointed to two sets of laws as supporting its
         principle. The first set includes laws that “prohibited the
         carry of firearms onto subsets of private land, such as
         plantations or enclosed lands.” Id. at 994. But the panel
         itself acknowledged that these laws bear little resemblance
         to Hawaii’s and California’s new laws. The historical laws
         the panel relied on were “limited to only a subset of private
         property; those laws likely did not apply to property that was
         generally open to the public”; and their aim was to prevent
         poaching, not the dangerous use of firearms. Id. The “how”
         (prohibiting carrying on a narrow subset of all enclosed
         private property) and the “why” (preventing poaching) of
         these historical regulations bear no resemblance to Hawaii’s
         and California’s laws presumptively outlawing carrying on
         all private property, ostensibly to reduce gun violence (not
         poaching). See 2023 Cal. Legis. Serv. Ch. 249 § 1(c). Given
         the lack of a tenable analogy, the panel rightly discounted
         reliance on these anti-poaching laws.
              But the second set of laws—in fact just two laws—that
         the panel and the states relied upon to justify the states’
         presumptive bans fares no better. A 1771 New Jersey law
         and an 1865 Louisiana law purportedly “bann[ed] the
         carrying of firearms onto any private property without the
         owner’s consent.” Wolford, 116 F.4th at 994. But as an
         initial matter, two state laws—nearly a century apart—
         cannot establish a historical tradition at odds with the text of
         the Second Amendment. Bruen, 597 U.S. at 46 (“[W]e
         doubt that three colonial regulations could suffice to show a
         tradition of public-carry regulation.”). And even if such
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 18 of 34
         18                     WOLFORD V. LOPEZ


         scarcity was not alone fatal, there is no consistent record of
         enforcement of these laws to the breadth that the states rely
         upon them. Id. at 58 & n.25 (noting that a “barren record of
         enforcement” is an “additional reason to discount [laws’]
         relevance”). The two laws simply fail to provide analogical
         support for the broad presumptive rule of disarmament the
         panel found.
             Even if two laws alone were enough to establish a
         historical tradition, these particular two laws are far different
         than California’s and Hawaii’s novel bans. The first claimed
         analogy, New Jersey’s 1771 law, made it unlawful for
         someone “to carry any Gun on any Lands not his own …
         unless he hath License or Permission in Writing from the
         Owner or Owners or legal Posessor.” 1771 N.J. Laws 343–
         347, ch. 540, § 1. This law was an antipoaching and
         antitrespassing ordinance—not a broad disarmament statute.
         Indeed, the Act’s title was “An Act for the Preservation of
         Deer and other Game, and to prevent trespassing with
         Guns.” Id. The “why” behind New Jersey’s law was to stop
         people from trespassing on private land with firearms for the
         purpose of poaching. The “why” of New Jersey’s law is thus
         not remotely comparable to the “why” of Hawaii’s law. In
         effect New Jersey’s law imposed strict liability restrictions
         on trespassing with guns, presumably because proving the
         intent behind poaching can be particularly burdensome.
         Picture Elmer Fudd creeping across your property, who,
         when caught, says: “Um … I was just out for a weisurely
         strowl across your pwoperty with my twusty musket. I
         certainwy was not pwanning to shoot anything ….” New
         Jersey’s law made it easier to prosecute ol’ Elmer for
         poaching, even if you couldn’t catch him in the act of
         blasting a wabbit.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 19 of 34
                               WOLFORD V. LOPEZ                     19


             And even if the “why” of New Jersey’s anti-poaching
         law was more akin to Hawaii’s, New Jersey’s solitary
         colonial law is an “outlier” and thus an inappropriate
         analogue.     Bruen, 597 U.S. at 30.           As the panel
         acknowledged, other colonial laws that purported to adjust
         the default presumption for carrying firearms onto private
         property were “limited to only a subset of private property;
         th[e]se laws likely did not apply to property that was
         generally open to the public.” Wolford, 116 F.4th at 994.
         Maryland’s 1715 law, Pennsylvania’s 1721 law, and New
         Jersey’s 1722 law were all limited to “seated plantations” or
         “improved or inclosed lands.” 1715 Md. Laws 88–91, ch.
         26, § VII; 1721 Pa. Laws, ch. 246, § III, reprinted in 3 James
         T. Mitchell & Henry Flanders, The Statutes at Large of
         Pennsylvania from 1682 to 1801, at 254–57 (Pa., Clarence
         M. Busch, 1896); 1722 N.J. Laws 141–42. And New York’s
         1763 statute covered just “Orchard[s], Garden[s], Corn-
         Field[s], or other inclosed Land.” 1763 N.Y. Laws, ch.
         1233, § 1, reprinted in 1 Laws of New-York from the Year
         1691 to 1773 Inclusive, at 441–42 (N.Y., Hugh Gaine 1774).
         Allowing Hawaii to presumptively outlaw carrying firearms
         on all private property on the basis of an idiosyncratic anti-
         poaching law amounts to “endorsing [an] outlier[] that our
         ancestors would never have accepted”—precisely what the
         Supreme Court has instructed lower courts not to do. Bruen,
         597 U.S. at 30 (quoting Drummond, 9 F.4th at 226).
              The second supposed analogue relied on by the panel is
         an 1865 Louisiana law. Louisiana’s law prohibited
         “carry[ing] fire-arms on the premises or plantation of any
         citizen, without the consent of the owner or proprietor, other
         than in lawful discharge of a civil or military order.” 1865
         La. Acts 14–16, no. 10, § 1. It was enacted as part of
         Louisiana’s notorious Black Codes that sought to deprive
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 20 of 34
         20                    WOLFORD V. LOPEZ


         African Americans of their rights, including the right to keep
         and bear arms otherwise protected by state law. See
         McDonald v. City of Chicago, 561 U.S. 742, 771, 779
         (2010); id. at 845–47 (Thomas, J., concurring) (detailing the
         sordid history of these laws, which were part of the
         “systematic efforts in the old Confederacy to disarm the
         more than 180,000 freedmen who had served in the Union
         Army, as well as other free blacks” (internal quotation marks
         omitted)); Heller, 554 U.S. at 614; Koons, 673 F. Supp. 3d
         at 568–69. The law was enacted right after the Civil War,
         by a former Confederate State, before Louisiana was even
         readmitted to the Union. Courts have correctly observed that
         “[t]he Supreme Court has cautioned against relying on such
         laws.” Kipke, 695 F. Supp. 3d at 659. In Bruen, the Court
         explained that two discriminatory statutes were “too slender
         a reed on which to hang a historical tradition of restricting
         the right to public carry.” 597 U.S. at 58. Nor should our
         court “infer a historical tradition of regulation consistent”
         with Hawaii’s novel private property presumption from a
         Black Code that was invidiously designed to undermine civil
         rights. Kipke, 695 F. Supp. 3d at 659; see also Koons, 673
         F. Supp. 3d at 568–69.
             Applying the analytical framework provided by the
         Supreme Court, it should be easy to see that the “why”
         behind Louisiana’s law does not map onto Hawaii’s
         purported “why.” Louisiana’s “intent was to discriminate,
         rather than to advance public safety.” Kipke, 695 F. Supp.
         3d at 659. This discriminatory animus is not part of the
         history baked into our legitimate constitutional tradition, and
         we “must exercise care to rely only on the history that the
         Constitution actually incorporated and not on the history that
         the Constitution left behind.” United States v. Rahimi, 602
         U.S. 680, 723 (2024) (Kavanaugh, J., concurring). Southern
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 21 of 34
                               WOLFORD V. LOPEZ                      21


         legislatures and their political supporters during
         Reconstruction made efforts “to deprive colored citizens of
         the right to bear arms ... and to reduce the colored people to
         a condition closely akin to that of slavery.” H. Journal, 42nd
         Cong., 2d Sess. 716 (1872) (statement of President Grant).
         Louisiana’s 1865 law is part of that invidious tradition and,
         far from being indicative of the Constitution’s meaning, is
         “probative of what the Constitution does not mean.” Rahimi,
         602 U.S. at 720 (Kavanaugh, J., concurring).
             And just as New Jersey’s 1771 law is an outlier,
         Louisiana’s law too is a one-of-a-kind law, even in
         comparison to other Reconstruction era laws. Only two
         other states purported to adjust the default private property
         presumption in this era—Texas in 1866 and Oregon in 1893.
         See 1866 Tex. Gen. Laws 90, ch. 91, § 1; 1893 Or. Laws 79,
         § 1. But those states’ laws applied to only “enclosed
         premises or plantation[s],” 1866 Tex. Gen. Laws 90, ch. 91,
         § 1, or “enclosed premises or lands,” 1893 Or. Laws 79, § 1.
         Just as in the colonial era, only one law, on its face, applied
         to properties generally held open to the public. The breadth
         of Louisiana’s discriminatory law is a clear “outlier” in its
         era and so for that reason too cannot form the basis of a
         constitutional tradition. Bruen, 597 U.S. at 29.
             In sum, the panel’s broad principle—“that the Nation has
         an established tradition of arranging the default rules that
         apply specifically to the carrying of firearms onto private
         property,” Wolford, 116 F.4th at 995—has no grounding in
         the historical record. The panel abstracts from an anti-
         poaching ordinance and a discriminatory Black Code—both
         of which fail to share the same “why” as Hawaii’s law, and
         both of which were clear outliers in their times in any event.
         Since there is no historical tradition that supports Hawaii’s
         private property default law, we should have taken this case
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 22 of 34
         22                     WOLFORD V. LOPEZ


         en banc to fix the panel’s error in upholding Hawaii’s novel
         law.
                                       B.
             The panel also erred in its approach for other locational
         restrictions it upheld, and we should have taken these cases
         en banc to correct those multiple departures from Bruen’s
         and Rahimi’s framework for analogizing. See Bruen, 597
         U.S. at 29–30; Rahimi, 602 U.S. at 692. First, even in
         instances where the same or similar properties existed at the
         Founding and the government pointed to no historical
         prohibitions for those locations, the panel nonetheless
         upheld the states’ modern bans by broadly analogizing to
         unrelated historical laws. Second and relatedly, the panel
         discounted the non-regulation of the same or similar
         historical properties by pointing to purported changes in how
         society now perceives those properties. And third, the panel
         abstracted at too high a level of generality, pulling principles
         out of historical precedent with little to no correlation
         between “how and why” these historical regulations affected
         the right to bear arms in self-defense and “how and why” the
         Hawaii and California laws seek to ban the public carry of
         firearms.
                                       1.
             The panel’s first methodological departure from the
         analogical approach of Bruen and Rahimi is drawing
         analogies to unrelated laws even where the same or similar
         locations existed at the Founding, and the historical record
         shows no historical tradition of regulating those locations.
         Bruen instructs against that approach: “[w]hen a challenged
         regulation addresses a general societal problem that has
         persisted since the 18th century, the lack of a distinctly
         similar historical regulation addressing that problem is
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 23 of 34
                               WOLFORD V. LOPEZ                    23


         relevant evidence that the challenged regulation is
         inconsistent with the Second Amendment.” 597 U.S. at 26–
         27.
             Take one example from the panel’s opinion: its analysis
         of California’s and Hawaii’s carry prohibitions in bars and
         restaurants that serve alcohol. Cal. Pen. Code § 26230(a)(9);
         HRS § 134-9.1(a)(4).        The panel acknowledged that
         “[e]stablishments serving alcohol have existed since the
         Founding.” Wolford, 116 F.4th at 986. Nor could it dispute
         that “[c]onsuming alcohol was one of the most widespread
         practices in the American colonies” and “[t]averns served as
         the most common drinking and gathering place for
         colonists.” Baylen J. Linnekin, “Tavern Talk” and the
         Origins of the Assembly Clause: Tracing the First
         Amendment’s Assembly Clause Back to Its Roots in Colonial
         Taverns, 39 Hastings Const. L.Q. 593, 595 (2012). Because
         the panel could point to no laws from that era outlawing the
         carrying of firearms in those locations, the panel’s analysis
         should have stopped there.
             Instead, the panel looked to a panoply of laws separating
         the storage of gunpowder from bars, limiting the carrying of
         firearms while intoxicated, and restricting militiamen from
         alcohol. Wolford, 116 F.4th at 985–86. From this broader
         hodgepodge, the panel then abstracted a general principle:
         “governments have regulated in order to mitigate the dangers
         of mixing alcohol and firearms.” Id. at 986. And from laws
         prohibiting carrying firearms at ballrooms and social
         gatherings, the panel drew the principle of “prohibiting
         firearms at crowded places, which included, at times, bars
         and restaurants.” Id.
             On the flimsy framework of these over-generalized
         principles and four localized mid- to late-19th-century
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 24 of 34
         24                    WOLFORD V. LOPEZ


         ordinances and territorial laws, the panel produced the
         conclusion that “Hawaii’s and California’s modern laws are
         ‘consistent with the principles that underpin our regulatory
         tradition.’” Id. at 986 (quoting Rahimi, 602 U.S. at 692).
         Once again, the panel failed to heed Bruen’s instructions.
         “[H]istorical analogues inconsistent with the ‘overwhelming
         weight of other evidence’ are undeserving of much weight,
         especially those laws that governed only a few colonies or
         territories, affected a small population, or were enacted in
         the late 19th century or later.” Id. at 978 (quoting Bruen,
         597 U.S. at 66). The only colonial or Founding era laws that
         the panel points to are those that separated the militia and
         alcohol. Wolford, 116 F.4th at 985. Otherwise, the panel
         primarily relies on later territorial laws (New Mexico in
         1853), local ordinances (New Orleans in 1817 and 1879,
         Chicago in 1851, and St. Paul in 1858), and late-19th-
         century ordinances. While the panel does rely on three
         Reconstruction era laws that prohibited carrying a firearm
         while intoxicated—Kansas in 1867, Missouri in 1883, and
         Wisconsin in 1883—our sister circuit has correctly
         concluded that those same laws, even assuming they are
         relevant, would “support, at most, a ban on carrying firearms
         while an individual is presently under the influence.” United
         States v. Connelly, 117 F.4th 269, 282 (5th Cir. 2024).
         Moreover, the panel’s principle of banning firearms in
         “crowded places”—which the panel drew from one local
         ordinance (New Orleans in 1817) and several late-19th-
         century laws banning carrying firearms in ballrooms and
         assemblies—runs squarely into Bruen’s rejection of
         Manhattan’s designation as a sensitive place “simply
         because it is crowded and protected generally by the New
         York City Police Department.” 597 U.S. at 30–31. In short,
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 25 of 34
                                WOLFORD V. LOPEZ                      25


         the panel stretched to draw principles from unrelated laws
         that simply do not support its stated regulatory principle.
             But I repeat: the panel should not have felt licensed to
         extract principles from these unrelated laws in the first place.
         When the same locations that existed at the Founding still
         exist today, and there is no historical tradition of banning
         carry in those locations at the Founding, that lack of
         historical regulations must count for something. Indeed, in
         most instances it should be dispositive. Bruen, 597 U.S. at
         26–27.
                                        2.
             The panel used another feint to ignore the lack of
         historical regulations of locations that have existed since the
         Founding. The panel looked instead at how those types of
         locations might have changed in the intervening years and
         asked whether those Founding-era categories are sufficiently
         similar to their “modern” equivalents. By adding this step,
         the panel introduced yet one more path permitting our court
         to broadly analogize from historical laws that on first blush
         seem far afield from the modern law, especially as compared
         to the glaring lack of historical regulation of the same
         locations now being banned.
             This is well-illustrated by the panel’s analysis of
         California’s and Hawaii’s laws prohibiting carrying firearms
         in “park[s].” Wolford, 116 F.4th at 982–85; HRS § 134-
         9.1(a)(9); Cal. Pen. Code § 26230(a)(12). Even though
         public parks existed well before the Founding and the states
         provide no evidence of firearm bans from that time period,
         the panel divined a historical tradition by redefining the
         inquiry to search for more recent regulations of “modern”
         parks. Wolford, 116 F.4th at 983.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 26 of 34
         26                    WOLFORD V. LOPEZ


             To be clear, the starting point for the panel’s historical
         detour seems itself suspect. The panel concluded that
         modern parks were too dissimilar to Founding-era parks
         because today we use parks differently. Wolford, 116 F.4th
         at 982. While I suppose it’s certainly true that the Founders
         didn’t ride ten-speeds or talk on cell phones in public parks,
         there is ample historical evidence of public parks used for
         recreational purposes in the colonial and Founding eras. In
         Massachusetts, Boston Common—established in 1634—
         was used for drilling militiamen, but it “also served as a site
         for informal socializing and recreation” including
         “[s]trolling,” “[h]orse- and carriage-riding,” “sports,”
         “entertainment,” and “raucous celebrations.”             Anne
         Beamish, Before Parks: Public Landscapes in Seventeenth-
         and Eighteenth-Century Boston, New York, and
         Philadelphia, 40 Landscape J. 1, 4–6 (2021); see also Steele
         v. City of Boston, 128 Mass. 583, 583 (1880) (describing the
         Common “as a place of public resort for the recreation of the
         people” “from time immemorial”). In New York, City Hall
         Park began as a “public commons” in the 17th century, and
         Bowling Green was established as a place for the
         “Recreation & Delight of the Inhabitants of this City” in
         1733. The Earliest New York City Parks, N.Y. City Dep’t of
         Parks and Recreation, available at https://perma.cc/MBM5-
         FWRZ (last visited Jan. 2, 2025). In Pennsylvania,
         Philadelphia was described by 1830 as a city with many
         “public squares, and gardens” for “general resort” and
         “promenade.” E.L. Carey & A. Hart, Philadelphia in 1830–
         1, at 145–46 (1830). In New Jersey, Newark’s Washington
         Park functioned as “a space for recreation.” See Washington
         Park Newark, History, https://perma.cc/UC8K-5L8N (last
         visited Jan. 2, 2025). And in Georgia, Savannah was
         planned around open public squares, which were turned into
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 27 of 34
                               WOLFORD V. LOPEZ                     27


         landscaped parks around 1800. See Turpin Bannister,
         Oglethorpe’s Sources for the Savannah Plan, 20 J. of Soc’y
         of Arch. Hist. 47, 48 (1961).
             Despite the undeniable presence of recreational-use
         parks at the Founding, the panel—and California and
         Hawaii—fail to provide any Founding-era laws prohibiting
         firearms in those places. Again, their failure to do so should
         be dispositive. Given that parks have “persisted since the
         18th century, the lack of a distinctly similar historical
         regulation addressing that problem is relevant evidence that
         the challenged regulation is inconsistent with the Second
         Amendment.” Bruen, 597 U.S. at 26–27.
             But the panel did not stop there. To compensate for the
         lack of any historical bans in public parks, the panel
         reconceptualized parks at the Founding as merely “public
         green spaces,” as opposed to the “outdoor gathering places”
         that “modern” parks serve as today. Wolford, 116 F.4th at
         982. The panel then redefined its inquiry—rather than
         looking at the historical precedent at the time of the
         Founding, the panel looked to precedent from the mid- to
         late-19th century, when, according to the panel, “green
         spaces began to take the shape of a modern park.” Id. After
         reframing the inquiry in this way, the panel then cited a
         panoply of laws restricting firearms in public parks, only one
         of which—New York City’s—was dated prior to 1868,
         when the Fourteenth Amendment was ratified. Id. at 982–
         83. But apparently because similar public parks didn’t exist
         at the Founding (per the panel), the panel felt authorized to
         derive its historical tradition from whatever time period the
         panel concluded that such spaces started to exist in their
         “modern” form.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 28 of 34
         28                    WOLFORD V. LOPEZ


             As was always the case when the panel turned to
         analogizing, once it concluded that a “modern” place is
         meaningfully different from its Founding-era precursors, the
         outcome was predetermined.            Each time the panel
         determined that a type of location did not exist at the
         Founding (or was too changed), the panel was able to find a
         historical tradition broad enough to support banning firearms
         in those locations. E.g., Wolford, 116 F.4th at 983 (parks
         and similar areas); id. at 985 (playgrounds and youth
         centers); id. at 987 (places of amusement). Apparently the
         original understanding of the Second Amendment was that
         it would not apply to any new types of public spaces that
         would develop in the future.
             But that is not how the Supreme Court has treated
         changes between then and now. Under the panel’s approach,
         the Second Amendment protects new “modern” firearms,
         but not new “modern” places? Bruen confirmed—as did
         Heller—that the Second Amendment applies to modern
         arms: “even though the Second Amendment’s definition of
         ‘arms’ is fixed according to its historical understanding, that
         general definition covers modern instruments that facilitate
         armed self-defense.” Bruen, 597 U.S. at 28; see also Heller,
         554 U.S. at 582 (“[T]he Second Amendment extends, prima
         facie, to all instruments that constitute bearable arms, even
         those that were not in existence at the time of the
         [F]ounding.”). But our court’s approach in these cases
         allows judges to rule away Second Amendment rights from
         modern places to the extent those locations differ at all from
         their historical precursors—which, of course, they always
         will. So even while an individual might have the right to
         carry a modern firearm “in common use” today, see Heller,
         554 U.S. at 627, under the panel’s reasoning that person may
         only have the right to carry her modern firearm in primitive
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 29 of 34
                               WOLFORD V. LOPEZ                     29


         locations indistinguishable from those that existed at the
         Founding.
                                       3.
             The panel’s approach in these cases also further
         entrenched our court’s practice of analogizing at too high a
         level of generality. The panel extracted very broad
         principles from the historical record that could support the
         constitutionality of almost any firearms restriction.
         Whenever the panel analogized to historical regulations, it
         found Hawaii’s or California’s laws constitutional. See
         Wolford, 116 F.4th at 982–83 (parks and beaches); id. at 986
         (bars and restaurants); id. at 987 (places of amusement); id.
         at 993 (private property). This appearance of foreordained
         outcomes is a strong hint that something is wrong with how
         the panel analogized. Such predetermined results happen
         because the panel inevitably extracted analogies at too high
         a level of generality, precisely what the Supreme Court in
         Bruen and Rahimi instructed lower courts not to do. Bruen,
         597 U.S. at 30; Rahimi, 602 U.S. at 692.
             To guard against this tendency, the Supreme Court has
         instructed that to confirm whether historical laws are
         “relevantly similar” we must look carefully at the “how and
         why” of the regulations; that is, “whether modern and
         historical regulations impose a comparable burden on the
         right of armed self-defense [the ‘how’] and whether that
         burden is comparably justified [the ‘why’] are ‘central’
         considerations when engaging in an analogical inquiry.”
         Bruen, 597 U.S. at 29 (quoting McDonald, 561 U.S. at 767);
         see also Rahimi, 602 U.S. at 692. The panel repeated these
         instructions but failed to apply them.
             The “regulatory principles” that the panel extracted from
         the historical traditions bear little resemblance to the “why”
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 30 of 34
         30                    WOLFORD V. LOPEZ


         behind the historical regulations to which the panel
         analogized. For example, from laws limiting poaching and
         hunting on private property, the panel drew the broad
         principle “that the Nation has an established tradition of
         arranging the default rules that apply specifically to the
         carrying of firearms onto private property.” Wolford, 116
         F.4th at 995. From, among others, laws segregating the
         militia from alcohol, the panel drew the untethered principle
         that governments can regulate “to mitigate the dangers of
         mixing alcohol and firearms.” Id. at 986. And from laws
         prohibiting the carrying of firearms at ballrooms and social
         gatherings, the panel drew the exceedingly broad principle
         of “prohibiting firearms at crowded places.” Id. With each
         capacious “principle” the panel extracted from the historical
         laws, it disregarded the narrow reason “why” those laws
         were enacted.
             And in reaching its overbroad analogies, the panel also
         failed to consider “how” the historical regulations were
         effectuated—that is whether the modern regulations
         “impose a comparable burden on the right of armed self-
         defense.” Bruen, 597 U.S. at 29. For example, as discussed
         above, from laws prohibiting the carrying of firearms
         without consent on a small subset of private property—
         enclosed lands—the panel concluded that all private
         property can be presumptively excluded, effectively
         rendering almost entire cities “no-carry” zones by default.
         Wolford, 116 F.4th at 996. And from laws prohibiting
         firearms at balls and other isolated social gatherings, the
         panel concluded that firearms can be prohibited at all bars
         and any restaurant that serves alcohol. Id. at 985–86. Put
         simply, the breadth of California’s and Hawaii’s laws bears
         no resemblance to the limited impact of the historical laws
         the panel pointed to for historical support.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 31 of 34
                               WOLFORD V. LOPEZ                      31


             By ignoring the “why” and the “how,” the panel ran
         afoul of the Supreme Court’s warnings not to over-
         generalize when drawing a historical analogy. Three
         Justices have explained that the Court’s decisions in Bruen
         and Rahimi do not license lower courts to abstract to such
         high levels of generality. “[A] court must be careful not to
         read a principle at such a high level of generality that it
         waters down the right.” Rahimi, 602 U.S. at 740 (Barrett, J.,
         concurring). “Courts must proceed with care in making
         comparisons to historic firearms regulations, or else they risk
         gaming away an individual right the people expressly
         preserved for themselves in the Constitution’s text.” Id. at
         711 (Gorsuch, J., concurring). And judges must not “let
         constitutional analysis morph into policy preferences under
         the guise of a balancing test that churns out the judge’s own
         policy beliefs.” Id. at 736 (Kavanaugh, J., concurring). By
         employing such broad analogizing, the panel turned the
         Second Amendment into a Rorschach inkblot—permitting
         judges to reason from abstract, broad constitutional
         principles whatever image of the right to bear arms that their
         personal preferences compel. And in doing so, states are
         given the very “regulatory blank check” that Bruen
         instructed against. 597 U.S. at 30.
                               *       *       *
              The panel’s acknowledgment that the results of its
         analysis are both “arbitrary” and “[il]logical” should have
         been a wake-up call that something was wrong and merited
         correction by our court. Wolford, 116 F.4th at 1003. Not all
         Second Amendment questions are straightforward, but these
         cases presented one of the easier ones for our en banc court
         to fix. It is unfortunate we failed to do so.
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 32 of 34
         32                    WOLFORD V. LOPEZ


                                      IV.
             There is one more reason we should have taken these
         cases en banc. The panel unnecessarily created a circuit
         split. By upholding Hawaii’s default private property rule,
         the panel departed from the holding of every other court to
         have considered similar private property default rules.
             In Antonyuk v. James, 120 F.4th 941 (2d Cir. 2024), the
         Second Circuit held that New York’s enactment of a
         similarly novel private property default rule violated the
         Second Amendment as applied to private property open to
         the public. Id. at 1048. The court concluded that “the State’s
         analogues fail to establish a national tradition motivated by
         a similar ‘how’ or ‘why’ of regulating firearms in property
         open to the public in the manner attempted by [New York’s
         private property default rule]. Accordingly, the State has not
         carried its burden under Bruen.” Id. at 1047. The Second
         Circuit reviewed a set of historical materials nearly identical
         to those presented by Hawaii and California in these cases,
         including both the 1771 New Jersey poaching law and the
         1865 Louisiana Black Code relied on by the panel. Compare
         id. at 1046–47, with Wolford, 116 F.4th at 994–96. The
         Second Circuit concluded that “none of the State’s proffered
         analogues burdened Second Amendment rights in the same
         way as [New York’s private property default rule].”
         Antonyuk, 120 F.4th at 1046. Instead, it observed that “[a]ll
         of the State’s analogues appear to, by their own terms, have
         created a default presumption against carriage only on
         private lands not open to the public.” Id.
             Each district court that has addressed similar laws has
         also reached a conclusion at odds with this court’s. E.g.,
         Kipke, 695 F. Supp. 3d at 659 (“[T]he Court finds that
         Plaintiffs are clearly likely to succeed in their challenge of
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 33 of 34
                               WOLFORD V. LOPEZ                      33


         SB 1’s private building consent rule.”); Koons, 673 F. Supp.
         3d at 607 (“[T]he Court concludes that the Default Rule
         impermissibly burdens Plaintiffs’ Second Amendment right
         to carry for self-defense in public as applied to private
         property that is held open to the public and for which an
         implied invitation to enter is extended ....”); Christian, 2024
         WL 4458385, at *11 (“The State’s criminal enactment
         barring carrying of arms on private property open to the
         public violates the Constitution.”).
             With this panel decision upholding Hawaii’s default
         private property law, our court once again becomes a Second
         Amendment outlier among the circuits. We should have
         corrected it en banc.
                                       V.
             With their new public carry bans, Hawaii and California
         have effectively disarmed law-abiding Hawaiians and
         Californians from publicly carrying during most of their
         daily lives. Bruen said the Second Amendment protects a
         “general right to publicly carry arms for self-defense.” 597
         U.S. at 31. It is hard to see how any such right “generally”
         applies in Hawaii and California after our court has
         sanctioned laws that flip the default rule into a “general
         right” not to carry on private property or most public
         property other than streets and sidewalks. If rigorously
         applying the mode of analysis mandated by Bruen led us to
         that shocking conclusion, perhaps we would be forced to
         conclude that the Supreme Court simply misspoke in
         characterizing the right to publicly carry as the “general”
         rule. But as explained, the panel’s analysis fails to follow
         the Supreme Court’s text-history-and-tradition guidance at
         almost every turn.         Because I believe the Second
Case: 23-16164, 01/15/2025, ID: 12919179, DktEntry: 111, Page 34 of 34
         34                  WOLFORD V. LOPEZ


         Amendment does not countenance that approach, I
         respectfully dissent from the denial of rehearing en banc.
